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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MICHAEL ABRAMOWITZ, et ail.,
Plaintiffs,
Vv. Case No. 1:25-cv-887-RCL

KARI LAKE, in her official capacity as
Senior Advisor to the Acting CEO of the U.S.
Agency for Global Media, et al.,

Defendants.

ORDER

Before the Court is the plaintiffs’ Motion for a Preliminary Injunction, which seeks to
enjoin the defendants from dismantling Voice of America (VOA) in response to Executive Order
14238, “Continuing the Reduction of the Federal Bureaucracy,” announced by President Trump
on March 14, 2025. The plaintiffs ask this Court to cancel the orders putting approximately 1,300
VOA employees on administrative leave, cancel the termination of contracts with approximately
500 personal service contractors (PSCs) with VOA, cease dismantling VOA, and restore VOA’s
personnel and operating capacities. For the reasons contained in the Memorandum Opinion in the
related case, Widakuswara v. Lake, 25-cv-1015, the plaintiffs’ Motion for a Preliminary Injunction
is GRANTED. Because the relief sought here is narrower than the relief granted in Widakuswara,
the Court enters the instant Order so that this case may alongside Widakuswara for the purposes
of appellate review. The Court provides a brief overview of the distinctions between the cases and
the relevant procedural history below.

The plaintiffs here are Michael Abramowitz, the current director of VOA; Anthony

Michael LaBruto, an International Multimedia Journalist in the English to Africa Service in the
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Africa Division of VOA; and J. Doe, a personal service contractor (PSC) with VOA. Compl.
1] 19-22. On March 26, 2025, the plaintiffs filed their Complaint against Defendant Kari Lake,
Senior Advisor to the Acting CEO of the U.S. Agency for Global Media (USAGM), and Defendant
Victor Morales, Acting CEO of USAGM, in their official capacities, as well as USAGM as an
organization. Id. f{] 23-25. The Complaint alleges that the defendants’ actions regarding VOA,
since the issuance of the EO, violate of the Administrative Procedure Act (Count I), constitutional
separation of powers principles (Count II), the Take Care Clause (Count III), and were ultra vires
(Count IV). The plaintiffs moved for a temporary restraining order (TRO) and preliminary
injunction (PI) that same day. See Mot. for TRO and PI, ECF No. 4.

Separately, on March 28, 2025, in Widakuswara, Judge Oetken of the Southern District of
New York granted Plaintiffs’ motion for a TRO and ordered as follows:

Defendants, and those acting in concert with them, are temporarily enjoined from

taking any further actions to implement or effectuate the March 14, 2025 Executive

Order entitled “Continuing the Reduction of the Federal Bureaucracy” as to

USAGM and the March 15, 2025 email issued to all VOA staff, or take any action

to reduce USAGM’s workforce (whether employees, contractors, or grantees),

included but not limited to

(i) proceeding with any further attempt to terminate, reduce-in-force, place on
leave, or furlough any USAGM employee, or contractor,

(ii) terminating (or proceeding with terminating as announced) any USAGM
grant or contract or proceeding with terminating any USAGM Personal
Services Contractors (PSCs) who received notice after March 14, 2025 that
their contract would be terminated, including but not limited to John Doe 3
and John Doe 4 who received notice that their contracts would be terminated
on March 31, 2025, or

(iii) closing any USAGM office or requiring employees or contractors in
overseas offices to return to the United States.

March 28 TRO at 21-22. Upon the issuance of that TRO, the plaintiffs here notified the
Court that they would withdraw their motion for a TRO and confer with the defendants regarding
a briefing schedule for the pending PI Motion. The plaintiffs moved for an expedited PI briefing

schedule, see ECF No. 15, which the defendants opposed, ECF No. 16. Then on April 1, 2025,
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the defendants moved to stay all proceedings or, in the alternative, for a longer briefing schedule
to allow for the Southern District of New York to rule on the pending PI motion in Widakuswara.
Mot. to Stay, ECF No. 17.

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With those motions still pending, on April 4, 2025, the defendants filed a Notice [ECF No.
20] of the decision in the Southern District of New York to transfer the Widakuswara case to the
District of Columbia and requested that the parties file a status report on April 9, 2025. The Court
granted this request, ECF No. 21, and the parties filed two proposed schedules, ECF No. 22. The
Court ordered the parties to adhere to the briefing schedule in Widakuswara, given the significant
overlap of issues, and ordered a joint hearing for both cases. Min. Order of Apr. 10, 2025. The
hearing took place on April 17, 2025, during which counsel for Widakuswara plaintiffs and the
plaintiffs here, and the defendants (which are the same in both cases), all presented argument. The
plaintiffs here focused specifically on the actions taken with regard to VOA and sought relief
pertaining to VOA specifically.

The Court has granted the PI in Widakuswara as it pertains to VOA, ordering the
defendants to “restore all USAGM employees and personal service contractors who were
terminated pursuant to the Executive Order 14238, ‘Continuing the Reduction of the Federal
Bureaucracy,’ to their status prior to March 14, 2025” and to “restore VOA programming such
that USAGM fulfills its Statutory mandate that VOA ‘serve as a consistently reliable and
authoritative source of news... .’” See Preliminary Injunction Order, No. 25-cv-1015 (RCL),
ECF No. 98. This relief encompasses the relief sought by the plaintiffs here. For the reasons

contained in the memorandum opinion accompanying the preliminary injunction Order in

Widakuswara, the Court hereby
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ORDERS that here, the plaintiffs’ Motion for a Preliminary Injunction, ECF No. 4, 18

GRANTED.

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Date: U.Lrw 19 Royce C. Lamberth
2:45 Aire United States District Judge

